Case 3:17-cr-05565-RBL Document 17 Filed 12/20/17 Page 1 of 14




                                                                 3
   Case 1:17-cr-00037 Document 1 Filed 08/16/17 Page 1 of 2
Case 3:17-cr-05565-RBL Document 17 Filed 12/20/17 Page 2 of 14




                                                                 4
   Case 1:17-cr-00037 Document 1 Filed 08/16/17 Page 2 of 2
Case 3:17-cr-05565-RBL Document 17 Filed 12/20/17 Page 3 of 14




                                                                 5
  Case 1:17-cr-00037 Document 1-1 Filed 08/16/17 Page 1 of 1
Case 3:17-cr-05565-RBL Document 17 Filed 12/20/17 Page 4 of 14




                                                                 8
   Case 1:17-cr-00037 Document 2 Filed 08/16/17 Page 1 of 2
Case 3:17-cr-05565-RBL Document 17 Filed 12/20/17 Page 5 of 14




                                                                 9
   Case 1:17-cr-00037 Document 2 Filed 08/16/17 Page 2 of 2
     Case
       Case
          1:17-cr-37
            3:17-cr-05565-RBL
                       NEF for Docket
                                Document
                                      Entry17 Filed 08/16/2017
                                                    12/20/17 Page
                                                                Page
                                                                  6 of114
                                                                        of 1


MIME−Version:1.0
From:CM−ECF@gud.uscourts.gov
To:CM−ECF@gud.uscourts.gov
Bcc:
−−Case Participants:
−−Non Case Participants:
−−No Notice Sent:

Message−Id:354689@gud.uscourts.gov
Subject:Activity in Case 17−37 Sealed v. Sealed (Redacted Notice)
Content−Type: text/html

NOTE: This docket entry (or case) is sealed, no email notices have been sent.

                                     Civil/Criminal CM/ECF System

                                         District Court of Guam

Notice of Electronic Filing


The following transaction was entered on 8/16/2017 at 2:29 PM CST and filed on 8/16/2017

Case Name:       USA v. Nahoolewa
Case Number:     1:17−cr−00037 *SEALED*
Filer:
Document Number: No document attached
Docket Text:
 Arrest Warrant Issued (Bail Amount: No Bail) by Magistrate Judge Joaquin V.E. Manibusan,
Jr. as to Whitney Nahoolewa. (mba, )


1:17−cr−00037 *SEALED*−1 No electronic public notice will be sent because the case/entry is sealed.




                                                                                                      10
              Case 3:17-cr-05565-RBL Document 17 Filed 12/20/17 Page 7 of 14




 1 SHAWN N. ANDERSON
   Acting United States Attorney
 2 BELINDA ALCANTARA
   Assistant United States Attorney
 3 Suite 500, Sirena Plaza
   108 Hernan Cortez Avenue
 4 Hagatna, Guam 96910
   Telephone: (671) 472-7332
 5 Facsimile: (671) 472-7334

 6 Attorneys for the United States of America

 7

 8                                 IN THE DISTRICT COURT OF GUAM

 9

10   UNITED STATES OF AMERICA,                            CRIMINAL CASE NO. 17-00037
11                                Plaintiff,
12                       vs.                                             ORDER
                                                                Granting Application to Seal
13   WHITNEY NAHOOLEWA,
14                                Defendant.
15

16          Through an application to seal case having come before this court and the court finding a
17
     compelling governmental interest requires the sealing of this case,
18
            IT IS SO ORDERED that the application is granted and that this case be sealed.
19

20

21                                                                   /s/ Joaquin V.E. Manibusan, Jr.
                                                                         U.S. Magistrate Judge
22                                                                   Dated: Aug 16, 2017
23

24

25

26

27

28

                                                                                                        11
                  Case 1:17-cr-00037 Document 3 Filed 08/16/17 Page 1 of 1
     Case
       Case
          1:17-cr-37
            3:17-cr-05565-RBL
                       NEF for Docket
                                Document
                                      Entry17 Filed 08/18/2017
                                                    12/20/17 Page
                                                                Page
                                                                  8 of114
                                                                        of 1


MIME−Version:1.0
From:CM−ECF@gud.uscourts.gov
To:CM−ECF@gud.uscourts.gov
Bcc:
−−Case Participants:
−−Non Case Participants:
−−No Notice Sent:

Message−Id:355244@gud.uscourts.gov
Subject:Activity in Case 17−37 Sealed v. Sealed (Redacted Notice)
Content−Type: text/html

NOTE: This docket entry (or case) is sealed, no email notices have been sent.

                                     Civil/Criminal CM/ECF System

                                         District Court of Guam

Notice of Electronic Filing


The following transaction was entered on 8/21/2017 at 12:48 PM CST and filed on 8/18/2017

Case Name:       USA v. Nahoolewa
Case Number:     1:17−cr−00037 *SEALED*
Filer:
Document Number: No document attached
Docket Text:
Court Certificate of Service as to Whitney Nahoolewa re [3] Order on Motion to Seal Case −
USAO acknowledged receipt on 8/18/2017. (mba, )


1:17−cr−00037 *SEALED*−1 No electronic public notice will be sent because the case/entry is sealed.




                                                                                                      12
Case 3:17-cr-05565-RBL Document 17 Filed 12/20/17 Page 9 of 14




                                                                 13
   Case 1:17-cr-00037 Document 4 Filed 09/01/17 Page 1 of 1
             Case 3:17-cr-05565-RBL Document 17 Filed 12/20/17 Page 10 of 14




 1 SHAWN N. ANDERSON
   Acting United States Attorney
 2 BELINDA ALCANTARA
   Assistant United States Attorney
 3 Suite 500, Sirena Plaza
   108 Hernan Cortez Avenue
 4 Hagatna, Guam 96910
   Telephone: (671) 472-7332
 5 Facsimile: (671) 472-7334

 6 Attorneys for the United States of America

 7

 8                                 IN THE DISTRICT COURT OF GUAM

 9

10   UNITED STATES OF AMERICA,                          CRIMINAL CASE NO. 17-00037
11                                Plaintiff,
12                       vs.                                          ORDER
                                                          Granting Application to Unseal Case
13   WHITNEY NAHOOLEWA,
14                                Defendant.
15

16          Through an application to unseal the case having come before this court and the court finding
17
     good cause for the issuance of the order;
18
            IT IS SO ORDERED that the case be unsealed.
19

20
                                                                       /s/ Joaquin V.E. Manibusan, Jr.
21                                                                         U.S. Magistrate Judge
                                                                       Dated: Sep 01, 2017
22

23

24

25

26

27

28

                                                                                                        14
                  Case 1:17-cr-00037 Document 5 Filed 09/01/17 Page 1 of 1
     Case
      Case1:17-cr-37
            3:17-cr-05565-RBL
                       NEF for Docket
                                Document
                                      Entry17 Filed
                                              Filed 12/20/17
                                                    09/05/2017PagePage
                                                                   11 of1 14
                                                                          of 1


MIME−Version:1.0
From:CM−ECF@gud.uscourts.gov
To:CM−ECF@gud.uscourts.gov
Bcc:
−−Case Participants: Belinda C. Alcantara (belinda.alcantara@usdoj.gov,
caseview.ecf@usdoj.gov, greg.helm@usdoj.gov, noreen.f.davis@usdoj.gov,
teresa.borja@usdoj.gov, usagu.docket@usdoj.gov), U.S. Probation Office
(operations@gup.uscourts.gov), U.S. Probation Office (operations@gup.uscourts.gov),
Magistrate Judge Joaquin V.E. Manibusan, Jr (joaquin_ve_manibusan@gud.uscourts.gov), Chief
Judge Frances M. Tydingco−Gatewood (chambers@gud.uscourts.gov,
cynthia_palacios@gud.uscourts.gov, edward_platt@gud.uscourts.gov,
judge_tydingco_gatewood@gud.uscourts.gov, karen_quitlong@gud.uscourts.gov)
−−Non Case Participants: U.S. Probation Office (operations@gup.uscourts.gov)
−−No Notice Sent:

Message−Id:357509@gud.uscourts.gov
Subject:Activity in Case 1:17−cr−00037 USA v. Nahoolewa Certificate of Service
Content−Type: text/html

                                    Civil/Criminal CM/ECF System

                                        District Court of Guam

Notice of Electronic Filing


The following transaction was entered on 9/7/2017 at 9:14 AM CST and filed on 9/5/2017

Case Name:       USA v. Nahoolewa
Case Number:     1:17−cr−00037
Filer:
Document Number: No document attached
Docket Text:
Court Certificate of Service as to Whitney Nahoolewa re [5] Order on Motion to Unseal Case
− USAO acknowledged receipt on 9/5/2017. (cms)


1:17−cr−00037−1 Notice has been electronically mailed to:

U.S. Probation Office &nbsp &nbsp operations@gup.uscourts.gov

Belinda C. Alcantara &nbsp &nbsp belinda.alcantara@usdoj.gov, CaseView.ECF@usdoj.gov,
greg.helm@usdoj.gov, noreen.f.davis@usdoj.gov, teresa.borja@usdoj.gov, usagu.docket@usdoj.gov

1:17−cr−00037−1 Notice has been delivered by other means to:




                                                                                                15
             Case 3:17-cr-05565-RBL Document 17 Filed 12/20/17 Page 12 of 14



                                                                                                                   FILED
                                                                                                           DISTRICT COURT OF GUAM
  USA-153Consent lo Transfer of Case for Plea and Sentence (Under Rule 20)


                                                       In the United States District Court
                                                                                                                    mm
                                                                                                                       W^
                                                                                                             JEANNE G. QUINATA
for the western                                               DISTRICT OF               Guam
                                                                                                               CI. F^K" OF COURT
   UNITED STATES OF AMERICA

                         V.                                                          CRIMINAL NUMBER:




  WHITNEY NAHOOLEWA
                                                            }                          CR-17-00037




                                                   Consent to Transfer of Case for Plea
                                                               and Sentence
                                                              (UnderRule20)




I, Whitney Nahoolewa            }defendant, have been infonned that an (indictment, information, complaint) is
pending against me in the above designated cause. I wish to plead Guiltv                '      to the offense
charged, to consent to the dispositionof the case in the Westem                   District of
 Washington               in which I, Whitney Nahoolewa       (am under arrest, am held) and to waive trial in the
above captioned District.




                                                                       Dated: }b !%• **{ 20-17 at
                                                                                                           "VOCi,

                                                                              (Defendant)




                                                                              (Assistant United States Attorney)



                                                                 Approved




                                              District of                                                                 District of

Washington                                                                    Guam




                                                                                                                                        16
                    Case 1:17-cr-00037 Document 6 Filed 11/14/17 Page 1 of 1
         Case 3:17-cr-05565-RBL Document 17 Filed 12/20/17 Page 13 of 14


                                                                                         FUGITIVE
                    Civil/Criminal CM/ECF System
                   District Court of Guam (Hagatna)
       CRIMINAL DOCKET FOR CASE #: 1:17−cr−00037 All Defendants
                            Internal Use Only

Case title: USA v. Nahoolewa                              Date Filed: 08/16/2017

Assigned to: Chief Judge Frances M.
Tydingco−Gatewood
Referred to: Magistrate Judge Joaquin
V.E. Manibusan, Jr

Defendant (1)
Whitney Nahoolewa

Pending Counts                          Disposition
CONSPIRACY TO DISTRIBUTE
CONTROLLED SUBSTANCE
(1)
CONSPIRACY TO POSSESS
CONTROLLED SUBSTANCE
(2)

Highest Offense Level (Opening)
Felony

Terminated Counts                       Disposition
None

Highest Offense Level (Terminated)
None

Complaints                              Disposition
None



Plaintiff
USA                                        represented by Belinda C. Alcantara
                                                          U.S. Attorney's Office, District of Guam
                                                          Suite 500, Sirena Plaza
                                                          108 Hernan Cortes Avenue

                                                                                                     1
     Case 3:17-cr-05565-RBL Document 17 Filed 12/20/17 Page 14 of 14


                                                           Hagatna, GU 96910
                                                           671−472−7332
                                                           Fax: 671−472−7334
                                                           Email: belinda.alcantara@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Other

Date Filed   # Page Docket Text
08/16/2017   1    3 Indictment as to Whitney Nahoolewa (1) Count(s) 1, 2. (Attachments: # 1 Cover
                    Sheet).(mba, ) (Additional attachment(s) added on 8/16/2017: # 2 Indictment −
                    Unredacted) (mba, ). (Entered: 08/16/2017)
08/16/2017   2    8 Motion to Seal Case filed by USA as to Whitney Nahoolewa. (mba, ) (Entered:
                    08/16/2017)
08/16/2017       10 *SEALED* Arrest Warrant Issued (Bail Amount: No Bail) by Magistrate Judge
                    Joaquin V.E. Manibusan, Jr. as to Whitney Nahoolewa. (mba, ) (Entered:
                    08/16/2017)
08/16/2017   3   11 Order granting 2 Motion to Seal Case as to Whitney Nahoolewa (1).. Signed by
                    Magistrate Judge Joaquin V.E. Manibusan, Jr on 8/16/2017. (wmt, ) (Entered:
                    08/17/2017)
08/18/2017       12 Court Certificate of Service as to Whitney Nahoolewa re 3 Order on Motion to
                    Seal Case − USAO acknowledged receipt on 8/18/2017. (mba, ) (Entered:
                    08/21/2017)
09/01/2017   4   13 Motion to Unseal Case filed by USA as to Whitney Nahoolewa. (mba, ) (mba, ).
                    (Entered: 09/01/2017)
09/01/2017   5   14 Order granting 4 Motion to Unseal Case as to Whitney Nahoolewa (1). Signed by
                    Magistrate Judge Joaquin V.E. Manibusan, Jr. on 9/1/2017. (mba, ) (Entered:
                    09/01/2017)
09/05/2017       15 Court Certificate of Service as to Whitney Nahoolewa re 5 Order on Motion to
                    Unseal Case − USAO acknowledged receipt on 9/5/2017. (cms) (Entered:
                    09/07/2017)
11/14/2017   6   16 Consent To Transfer Jurisdiction (Rule 20) for Plea and Sentence to Western
                    District of Washington filed by Whitney Nahoolewa. (wmt, ) (Entered:
                    11/16/2017)




                                                                                                    2
